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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MARQUITA BUTER, On Behalf of                 *
Herself and On Behalf of Others
Similarly Situated,                          *

                       Plaintiff             *

       V.                                    *         Civil Action No:   1:20-CV-03084-JRR

PP&G, INC. d/b/a Norma Jean’s                *
Nite Club, et al
                                             *
                       Defendants            *
*      *        *      *     *        *      *         *      *      *      *     *      *

OBJECTION OF DEFENDANT PP&G, INC. TO REPORT AND RECOMMENDATION
      OF UNITED STATES MAGISTRATE JUDGE DATED MAY 22, 2023

       PP&G, Inc., one of the Defendants, pursuant to Federal Rule of Civil Procedure 72(b)

and Local Rule 301.5b notes an objection to the report and recommendation of United States

Magistrate Judge Brendan A. Hurson entered on May 22, 2023, and states:

                                                 Objections

I. Judgment Should be entered against Defendant PP&G, Inc. only.

       1.    PP&G, Inc. is the only Defendant that judgment should be entered against.

       2.    The original Complaint in this action was filed against Defendants PP&G, Inc. and

Garrett Million.     Defendant PP&G, Inc. was properly served and filed an answer to the

Complaint.     In the Answer filed on November 20, 2020, Defendant PP&G, Inc. made it known

that Garrett Million had been deceased for quite some time. Neither Garrett Million nor his

Estate were served with a Summons and Complaint and neither filed an Answer to Complaint.

       3.    On February 14, 2022 Plaintiffs filed a Second Amended Complaint, adding as

additional Defendants Peter Ireland and Lisa Ireland. Neither Peter Ireland nor Lisa Ireland

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were ever served with a Summons and Complaint and neither filed an Answer to Complaint.

Interrogatories and Requests for Production of Documents were never propounded to Defendants

Peter Ireland or Lisa Ireland.   The Motion for Sanctions Pursuant to Rule 37 was filed against

Defendant PP&G, Inc. only and the Order of Default Judgment applied only to Defendant

PP&G, Inc.

       4.    Magistrate Judge Hurson’s Report and Recommendation Dated May 22, 2023 is

unclear whether it was intended to apply to all Defendants or solely against Defendant PP&G,

Inc. To the extent that the Report and Recommendation Dated May 22, 2023 recommends a

Judgment against all Defendants, Defendant PP&G, Inc. notes its objection that the only

Defendant that the court had personal jurisdiction and that the only offending Defendant is

Defendant PP&G, Inc.

       5.    Counsel for Defendant PP&G, Inc. gives notice that on May 22, 2023, the same day

as the issuance of the Report and Recommendation, Peter Ireland died.      Counsel has not yet

been provided with a death certificate.

       WHEREFORE, Defendant PP&G, Inc. requests that its Objection to the Report and

Recommendation of United States Magistrate Judge Dated May 22, 2023 be sustained and that

Judgment be entered against Defendant PP&G, Inc. only.


                                                           /s/ PETER A. PREVAS
                                                           Bar No: 11564
                                                           Prevas and Prevas
                                                           309 North Charles Street
                                                           Suite 200
                                                           Baltimore, MD 21201
                                                           410-752-2340-phone
                                                           410-332-0474-fax
                                                           prevasandprevas@verizon.net
                                                           Attorney for Defendant PP&G, Inc.

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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of June 2023, I mailed first class, postage

prepaid and/or efiled a copy of the foregoing Objection of Defendant PP&G, Inc. to Report And

Recommendation Of United States Magistrate Judge Dated May 22, 2023 to David W. Hodges

and William M. Hogg, Esquire Hodges & Foty, LLP, 4409 Montrose Boulevard, Suite 200,

Houston, TX 77006 and Suvita Melehy and Andrew G. Balashov, Esquire, Melehy &

Associates, LLC, 8403 Colesville Road, Suite 610, Silver Spring, MD 20910, Attorney for

Plaintiffs.



                                                         /s/ PETER A. PREVAS




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